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Lomon Billions www.lomonbillions.com

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Lomon Bitions

Bruce Griffin
Senior Vice President Strategic Development

   
     

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Greg 5 Weiland, CSR, RM!

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Lomon Billions

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Agenda fr Db 42h 4 8%
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Lomon Billions

& Introduction to Lomon Billions
> China Context

> Growth Strategy

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Lomon Billions

 

Deyang Base, Sichuan Province, 250,000 tpa Sulphate pigment

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Company Snapshot

Lomon Billions

> Formed by the merger of Sichuan Lomon and
Henan Billions in October 2016

4 partially integrated pigment plants in China
15 main pigment products: 13 sulfate and 2 chloride
705kt pigment capacity and first quartile cost
Shenzhen Stock Exchange: US$5.6bn market cap

vvvyv

2017 highlights

i Revenue of US$1,534m, up 40%

& EBITDA of US$584m, up 73%

> 60Kt chloride pigment production, up 42%

fr, 2k hv

ed Lomon Billions

Market position

>
>
>

#4 by global capacity

#1 in Asia

Plan to become the global market leader with
~1,300kt of pigment capacity by mid 2020's
Objective is to be a fully integrated low cost
pigment producer

Market position in China

>
>
>

#1 pigment producer
#1 chloride pigment producer
#1 pigment exporter
#3 ilmenite producer

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Corporate snapshot

Lomon Billions is closely held and largely owned by management

Share price chart

 

 

 

 

92.3%

 

CNY
“4 June 2015: Agreed to
jacquire Sichuan Lomon
20+} {Titanium Co. for
|US$1.47bn
64 = —— — B
| |
| | |
| =
14 4
12 4 | —
| Mar 2018: Announces intention to |
10 4 ¥ purchase Sichuan Anning Iron &
; = Titanium, a Chinese ilmenite and |
8 4 Oct 2016: Merger with Sichuan | iron producer, for RMB4.5-5bn
|Lomon Titanium Co. completed, ($780mm)
ed |creating 4th largest TiO2 — =
lcompany globally
4

 

Source’ S&P Capital |Q, Bloomberg as of 27" April 2017

Apr-15  Aug-15 Nov-15 Feb-16 May-16 Sep-16 Dec16 Mar-17 Jun-17 Oct17 Jan-18 Apr-18

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OQ B homens

Lomon Billions

Capitalisation table (27 April 2018)
Listed on Shenzhen since

2011

Share price (CNY/US$) 18.42/2.91
NOSH (m) 2,032.1
Market cap. (US$m) 5,913.4
Net debt (US$m) 326.2
Enterprise value (US$m) 6,239.6
1 year high/low (CNY) 20.13/13.83

 

Top shareholders

Others Xu Gang

(Chairman)

Tan
Ruiging
(Vice
Chairman)

  

Fan Xianguo

(CEO) —
Ze Long Ling Li
Wang

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Key operational results a BS 4b oh Bb 42 9%

Rapid historical growth, chloride supplementing sulfate ad Lomon Billions

Pigment sales by market ktpa Pigment production by technology ktpa
GR
43%fo OFS 600 Q
600 agnfe ORS
400 400
200 200
2012 2013 2014 2015 2016 2017 2012 «©2013 «= 2014. Ss 2015 = 2016 = 2017
= Domestic = Export @ Sulfate a Chioride

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Key financial results

Strong earning growth and low leverage

Revenue and EBITDA

USSm

1,600

1,200

800

400

2014* 2015* 2016* 2017
mass Revenue ==) EBITDA —— EBITDA Margin

* Proforma Lemon Billions: Sichuan Lomon Titanium + Henan Billions

Margin

40%

30%

20%

10%

0%

4b 2k do %
QB tonne

Lomon Billions

 

Net Debt / EBITDA (x)
US$m Ratio
600 1.8
400 1.2
" I | :
- 0.0

2014* 2015* 2016* 2917
mes Net Debt === EBITDA —Net Debt to EBITDA

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Industry leading cost position [> BS di 2k ho %%
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2016 Pigment Cash Cost $/t

() Lomon Billions i Other

 

 

 

2016 TiO, Pigment Capacity
Source: TZMI

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Market position

# 1 in China, #4 Global market share (sales volume)

China

5 years ago

Present

 

Billions

 

42k E45 8%
QB ne

Lomon Billions

Global
Other RoW
Chemours
Venator

Other China
}; Cristal
Bilions ,

Lomon_— Tronox Kronos

Other RoW __--— WY
Other China ¢

Tronox/
Cristal
Kronos Venator
Lomon Billions 10

  
  

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4 2k do 3%
Q B iomnvis

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Ae ee See

Panzhihua Base, Sichuan Province, 750,000 tpa Sulphate ilmenite, 2,250,000 tpa iron ore
11

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Current China regulatory context

Environmental inspections and sulfate capacity restrictions ~~ '

> Environmental inspections
> Not only targeting our industry
> Enforcement of existing regulations
>» Central teams applying rules consistently
> Long term positive for sophisticated producers

> Sulfate capacity restrictions
> New greenfield sulfate pigment plants unlikely
>» Limited expansions for well managed and compliant sites

> Chloride encouraged
> Chloride supply will grow faster than sulfate
> There will be fewer chloride than sulfate producers

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China chloride

China will dominate growth of chloride demand and supply

China will continue to dominate pigment

Pigment demand ktpa
8,000

6,000 ~

4,000

2,000

2017

demand growth

China

RoW

Future

AL 2k ht
Lomon Billions

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ed

Chloride will be a key driver of China’s supply
growth

Pigment supply ktpa

8,000

6,000 ae

4,000

Sulfate @ Chloride
2,000
2017 China China RoW RoW Future
Sulfate Chloride Sulfate Chloride
13

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China chloride dk he
QS

China will vertically integrate into chloride feedstock Lomon Billions

Chloride feedstock production 000’s TiO, Units
5,000

4,000
3,000
2,000

1,000

 

China RoW Future

2017

=m RoW @ China
14

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42k Bd, v%
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Growth Strategy (> i? M2 4 ve
wi

Chloride expansion

Lomon Billions

> Current 200,000 tonne chloride expansion

>

vvvvyy

Two new 100,000 tpa chloride lines at Jiaozuo

Board approval 10 February 2018

External approvals in place

2 year construction period including extensive pre-works prior to approval
Commercial production in 2019

Total investment 1.812 billion RMB (~US$285 million)

> Future additional 300,000 tonne chloride capacity

>

Most likely at a new coastal location in China

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Growth Strategy
Organic pigment growth to 1,300 ktpa

Pigment production ktpa

1,400-
1,200-
1,000-
800-
600-
400-

200-

 

 

DP b M2 Ed 1%

wy Lomon Billions

CAGR
2007-2017 2017-Future
Total 19% ~8%
New
Location
Chloride N/A ~25%
Under
Construction
Exisiting Line
Sulfate Sulfate 17% ~3%

Future

17

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Growth Strategy (> i Mk Ee
wi!

Sulfate Feedstock Integration Lomon Billions
> Announced intention to purchase Sichuan Anning in March 2018
> 500 ktpa of sulfate ilmenite and 2,300 ktpa of iron ore concentrate

> Combined with existing mine in Panzhihua
> >90% self-sufficient for sulfate pigment feedstock
> #1 ilmenite producer in China (from #3)

> Due Diligence ongoing

18

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Growth Strategy [> > Mk Eo
~—w

Chloride feedstock integration Lomon Billions

> Target capacity to feed 600,000 tpa chloride pigment
> Expand smelter capacity in China and overseas

> Buy or build ilmenite resources suitable for making chloride slag

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Peer comparison (> A 9k ho 1%

wa Lomon Billions
uss Ercremours QSL ss KRONOS = TRONOX —-VENATOR
Exchange © NYSE @ she © NYSE © NYSE © NYSE
Domicile Delaware, USA Henan, China Texas, USA Connecticut, USA Texas, USA
Market cap 8,938.2 5,913.4 2,701.7 2,131.3 1,916.3
Net debt 2,556.0 326.2 141.8 2,031.0 519.0
EV 11,499.2 6,239.2 2,843.5 4,348.3 2,445.3
Gearing (Debt / Equity) 4.8x 0.3x 0,6x 3.1x - - a
REVERE - 7 6,183.0 1,534.0 1,729.0 a 2,209.0
EBITDA FY17 4,288.0 584.0 371.6 320.0 318.0
EBITDA margin (%) 20.8% 38.5% 21.5% 18.8% 14.4%
ROI FY17 20.4% 94% . 26.9% _ 4.4% . 10 3%
2017 Production (Kt) | 987.0 594.0 545.0 433.0 716.0
Production split (Chloride / Sulfate) 100% / 0% 10% / 90% 75% | 25% 100% / 0% 29% 1 71%

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Source: Bloomberg, TZMI, Company reports; Market Data as of 27th April 2018

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Peer comparison

6 months

1 year

2 years

3 years

Mkt cap (US$m)
Net debt (US$m)
EV (US$m)

300.0
250,0
200.0
150.0

100.0

Apr-15 Jul-15 Oct-15 dan-16

 

The Chemours Co.

€ Chemours"

(12.2%)
25.0%
446.5%
NA
8,938.2
2,556.0
11,499.2

3 years

Apr-16 Jul-16 Oct-16

 

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Note: All prices rebased to 100 ; Source: Capital 1Q as of 27th April 2018

1Spun-out from Huntsman in August 2017

©

Lomon Billions

1.5%
6.3%
34.1%
92.3%
5,913.4
326.2
6,239.6

Jan-17

 

 
 
 

Apr-17 Jul-17

Tronox Ltd

(>

ww

é» KRONOS TRONOX

(13.5%) (34.8%)
33.9% 4.0%
247.0% 135.0%
75.2% (17,2%)
2,701.7 2,131.3
141.8 2,031.0
2,843.5 4,348.3
120.0
150.7% 110.0
Manes 8
:
90.0
(10.2)% 80.0
(17.2%)
70.0
60.0

Oct-17 Jan-18 Apr-18

Kronos Worldwide

Oct-17

 

M2 Edo

Lomon Billions

VENATOR '

(25.3%)
NA
NA
NA

1,916.3

519.0

2,445.3

6 months

Dec-17

Venator Materials

 

Feb-18

(25.3)%
(34.8)%
Apr-18
22

RX1642.0022
